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                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF FLORIDA
                                        MIAMI DIVISION

                         CASE NO. 18-20818-CIV-GAYLES/OTAZO-REYES

   PDVSA U.S. LITIGATION TRUST,

                            Plaintiff,

                    v.

   LUKOIL PAN AMERICAS LLC, et al.,

                            Defendants.
                                                        /

                                                    ORDER

          THIS CAUSE comes before the Court on Defendants’ Motion, by Order to Show Cause,

  for Sanctions and Other Relief Against Plaintiff (“Motion for Sanctions”) [ECF No. 430] 1 and

  Defendant, Maximiliano Poveda’s Joinder in Motion, by Order to Show Cause, for Sanctions and

  Other Relief Against Plaintiff. The action was referred to Magistrate Judge Alicia Otazo-Reyes,

  pursuant to 28 U.S.C. § 636(b)(1)(B), for a ruling on all pretrial, non-dispositive matters, and for a

  Report and Recommendation on any dispositive matters. [ECF No. 220]. On July 6, 2018, and Jan-

  uary 25, 2019, Judge Otazo-Reyes held show cause hearings. On February 11, 2019, Judge Otazo-

  Reyes issued her report recommending that the Court grant the Motion for Sanctions (the “Re-

  port”) [ECF No. 670]. Plaintiff has timely objected to the Report [ECF No. 675]. 2




  1
           The moving Defendants are Trafigura Trading, LLC, Lukoil Pan Americas LLC, Colonial Oil Industries,
  Inc., Colonial Group, Inc., Paul Rosado, Glencore Ltd., Glencore Energy UK Ltd., Gustavo Gabaldon, Sergio de la
  Vega, Vitol Inc., Vitol Energy (Bermuda) Ltd., Antonio Maarraoui, BAC Florida Bank, FranciscoMorillo, Leonardo
  Baquero, Helsinge Holdings, LLC, Helsinge, Inc., Helsinge Ltd., Daniel Lutz, Luis Liendo, John Ryan, and Luis
  Alvarez.
  2
           Defendants filed a response to the objections [ECF No. 682] and Plaintiff filed a reply [ECF No. 683].
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         A district court may accept, reject, or modify a magistrate judge’s report and recommen-

  dation. 28 U.S.C. § 636(b)(1). Those portions of the report and recommendation to which objection

  is made are accorded de novo review, if those objections “pinpoint the specific findings that the

  party disagrees with.” United States v. Schultz, 565 F.3d 1353, 1360 (11th Cir. 2009); see also Fed.

  R. Civ. P. 72(b)(3). Any portions of the report and recommendation to which no specific objection

  is made are reviewed only for clear error. Liberty Am. Ins. Grp., Inc. v. WestPoint Underwriters,

  L.L.C., 199 F. Supp. 2d 1271, 1276 (M.D. Fla. 2001); accord Macort v. Prem, Inc., 208 F. App’x

  781, 784 (11th Cir. 2006).

         The Court has conducted a de novo review of the record and the law and agrees with the

  Report’s recommendations. Accordingly, after careful consideration, it is ORDERED AND AD-

  JUDGED as follows:

         (1)     Judge Otazo-Reyes’s Report and Recommendation [ECF No. 670] is ADOPTED;

         (2)     Defendants’ Motion, by Order to Show Cause, for Sanctions and Other Relief [ECF

                 No. 430] is GRANTED in PART. Sanctions, in the form of attorney’s fees and

                 costs, shall be imposed against Plaintiff;

         (3)     Within 60 days of the date of this Order, Defendants shall file their request for

                 reasonable attorneys’ fees and costs incurred in connection with their preparation

                 for the cancelled depositions of Dr. Cabeza and Mr. Pedroza and the litigation of

                 the Motion for Sanctions in accordance with Local Rule 7.3.

         DONE AND ORDERED in Chambers at Miami, Florida, this 19th day of March, 2019.




                                                ________________________________
                                                DARRIN P. GAYLES
                                                UNITED STATES DISTRICT JUDG


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